7 Case 3:16-cr-03056-CAB - Document 63 Filed 11/15/21 PagelD.116 Page 1 of 2
AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations ,

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
(For Revocation of Probation or Supervised Release)
V (For Offenses Committed On or After November 1, 1987)
LEONARDO OROZCO (1)

Case Number: 16-CR-03 056-CAB
. MICHELLE ANGELES.EEDERAL DEFENDERS, INC.
Defendant’s Attorney re ep
REGISTRATION NO. 59892298 F fh Ee &
Oo:
THE DEFENDANT: | NOV 15 2023
‘L] admitted guilt to violation of allegation(s) No.

 

 

 

 

 

 

 

 

3 Fr aa

LEERK Us LISTHICT OCH
SOUTHERN DISTRICT OF CALIFORNIA
oR BB

 

 

 

was found guilty in violation of allegation(s) No. 1,2 Based on plea/con¥Btion in related case no. 21 CAB.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):
Allegation Number Nature of Violation
1 nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control
2 19 Possession of firearm/dangerous weapon

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

November 1273021

Date of Impositiog of Sentence

——"

 

 

 

HON. CATHY ‘ANN BENCIVENGO
UNITED STATES DISTRICT JUDGE
ff

%

* Case 3:16-cr-03056-CAB Document 63 Filed 11/15/21 PagelD.117 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

 

DEFENDANT: LEONARDO OROZCO (1) | Judgment - Page 2 of 2
CASE NUMBER: 3:16-CR-03056-CAB

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
THREE (3) MONTHS TO RUN CONSECUTIVE TO THE SENTENCE IMPOSED IN 21CRO535-CAB.

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

OO

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
O at A.M. on

 

 

[| as notified by the United States Marshal.
q The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
CL] on or before
Cas notified by the United States Marshal.
[] as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on | to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By ] DEPUTY UNITED STATES MARSHAL

3:16-CR-03056-CAB
